                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                               DOCKET NO. 3:90-CR-85-FDW-2


 ORRIN L. JACKSON,                                 )
                                                   )
                Petitioner,                        )
                                                   )
         vs.                                       )                     ORDER
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                Respondent.                        )
                                                   )

       THIS MATTER comes now before the Court upon Petitioner’s Motion for Reconsideration

(Doc. No. 10) of this Court’s Order denying his Motion to Modify Sentence (Doc. Nos. 8, 7).

Petitioner’s Motion is DENIED.

       The Court stated in its previous Order that it believes that Petitioner’s incarceration is in the

continued interest of society. The Court’s opinion has not changed. Petitioner was a member of one

of the most violent gangs in the history of the City of Charlotte. He was convicted as such by a jury

of his peers. The Court stated in its previous Order that Petitioner was ranked third in culpability

in the conspiracy, a characterization Petitioner objects to in his Motion. Petitioner argues that the

Presentence Report refers to him only as a “street dealer.” Regardless of Petitioner’s role in the

conspiracy, he was convicted of being a member of that conspiracy and, keeping the violent nature

of the conspiracy in mind, this Court considers his sentence to be appropriate.

       Petitioner argues that the Court should consider the man he is today, stating that the young

man he was no longer exists. The Court commends Petitioner for his efforts while incarcerated to

better himself and those around him. Furthermore, the Court considers it unfortunate that Petitioner,



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twenty-one years old at the time of his conviction, will likely spend the rest of his life in prison.

Nevertheless, the Court is unable to turn a blind eye to the crimes that Petitioner committed and the

consequences that such crimes must have, weighty though those consequences may be. For this

reason, and those stated in the Court’s previous Order, Petitioner’s Motion for Reconsideration is

DENIED.

       IT IS SO ORDERED.                         Signed: October 22, 2007




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